                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION

FAYETTEVILLE PUBLIC LIBRARY, a political
subdivision in the City of Fayetteville, State of
Arkansas;
EUREKA SPRINGS CARNEGIE PUBLIC LIBRARY;
CENTRAL ARKANSAS LIBRARY SYSTEM;
NATE COULTER; OLIVIA FARRELL; HAYDEN KIRBY;
MIEL PARTAIN, in her own capacity and as parent
and next friend of MADELINE PARTAIN; LETA
CAPLINGER; ADAM WEBB; ARKANSAS LIBRARY
ASSOCIATION; ADVOCATES FOR ALL
ARKANSAS LIBRARIES;
PEARL’S BOOKS, LLC; WORDSWORTH
COMMUNITY BOOKSTORE LLC d/b/a
WORDSWORTH BOOKS; AMERICAN
BOOKSELLERS ASSOCIATION; ASSOCIATION
OF AMERICAN PUBLISHERS, INC.; AUTHORS
GUILD, INC.; COMIC BOOK LEGAL DEFENSE
FUND; and FREEDOM TO READ FOUNDATION                                                       Plaintiffs

                                  Case No. 5:23-cv-05086-TLB

CRAWFORD COUNTY, ARKANSAS;
CHRIS KEITH, in his official capacity as Crawford County Judge;
TODD MURRAY; SONIA FONTICIELLA; DEVON HOLDER;
MATT DURRETT; JEFF PHILLIPS; WILL JONES; TERESA HOWELL;
BEN HALE; CONNIE MITCHELL; DAN TURNER; JANA BRADFORD;
FRANK SPAIN; TIM BLAIR; KYLE HUNTER; DANIEL SHUE;
JEFF ROGERS; DAVID ETHREDGE; TOM TATUM, II; DREW SMITH;
REBECCA REED MCCOY; MICHELLE C. LAWRENCE;
DEBRA BUSCHMAN; TONY ROGERS; JOSHUA
ROBINSON; CAROL CREWS; KEVIN HOLMES;
CHRIS WALTON; and
CHUCK GRAHAM, each in his or her official capacity as
a prosecuting attorney for the State of Arkansas.                                       Defendants

         PLAINTIFF OLIVIA FARRELL’S OBJECTIONS AND RESPONSES TO DEFENDANTS
              PROSECUTING ATTORNEYS’ FIRST SET OF INTERROGATORIES AND
                     REQUESTS FOR PRODUCTION TO OLIVIA FARRELL

       Plaintiff Olivia Farrell provides the following objections and responses to Defendants

Prosecuting Attorneys’ First Set of Interrogatories and Requests for Production, in accordance with

Federal Rules of Civil Procedure 33 and 34.
                                           Interrogatories

         INTERROGATORY NO. 1:                Identify five items you wish to read, browse, or view

 that you believe are subject to regulation under Section 1 of Act 372 of 2023.

         ANSWER: Plaintiff Farrell objects to this interrogatory because it requires her to draw

 legal conclusions about Section 1 and Act 372 which she is unqualified to make and,

 additionally, which section of Act 372 she asserts is unconstitutionally vague.

         INTERROGATORY NO. 2: For each item identified in response to Interrogatory No.

 1, identify the chapter numbers, timestamps, or other specific indicator that you believe make

 the item subject to Section 1.

         ANSWER: See objection to Interrogatory No. 1.

         INTERROGATORY NO. 3:                For the years 2019 to the present, identify every place

 from which you have loaned, rented, purchased, or browsed for books, including brick-and-

 mortar stores, online retailers, and libraries.

ANSWER:
John Gould Fletcher Library
Wordsworth Books
Amazon.com
Spotify
Thriftbooks
Scholastic book Fair
Barnes & Noble
Book Depository
Bookshop.org


                                      Requests for Production

         REQUEST FOR PRODUCTION NO. 1: Produce copies of the portions of items

 identified in response to Interrogatory No. 2 that you believe make the item subject to regulation

 under Section 1 of Act 372 of 2023.
        RESPONSE: See objection to Interrogatory No. 1.

        REQUEST FOR PRODUCTION NO. 2: Produce all documents you relied on in

answering this First Set of Interrogatories and Requests for Production.

        RESPONSE: None.

              Submitted this 18th day of March, 2024


                                              /s/Bettina E. Brownstein
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                                              Attorney for Plaintiffs Hayden Kirby,
                                              Leta Caplinger, and Mel Partain in her
                                              own Capacity and as Mother and Next
                                              Friend of Madeline Partain.

                                              On Behalf of the Arkansas Civil
                                              Liberties Foundation


                                     VERIFICATION
               I, Olivia Farrell, declare under penalty of perjury under the laws of the United
        States of America that the foregoing responses are true and correct.

              Executed on March 18, 2024 at Little Rock, Arkansas.

                                                     /s/Olivia Farrell
                                                       Olivia Farrell


                                   CERTIFICATE OF SERVICE

        I, hereby certify that on this 18th day of March, 2024, I served the foregoing on all
defense counsel of record, including counsel for the propounding parties, Noah P. Watson, via e-
mail.


                                                             /s/Bettina E. Brownstein
